
654 S.E.2d 244 (2007)
STATE
v.
Byron Lamar WARING.
No. 525A07.
Supreme Court of North Carolina.
October 26, 2007.
Mary S. Pollard, for Waring.
Doug Faucette, Robert Montgomery, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 25th day of October 2007 by Defendant for Extension of Time for Court Reporter to Deliver Transcript:
"Motion Allowed. Court reporter shall have up to and including the 10th day of December 2007 to prepare and deliver transcript to counsel. By order of the Court in conference this the 26th day of October 2007."
